                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

In re: JEREMY A. BRAY                            )          Case No.: 18-82940-12
                                                 )
       SSN: xxx-xx-8166                          )
                                                 )
                Debtor.                          )          CHAPTER 12

                                FINAL APPLICATION FOR
                          APPROVAL OF DEBTOR’S ATTORNEY FEES

       COMES NOW Jeremy A. Bray, as Chapter 12 Debtor (the “Debtor”), and Sparkman,
Shepard, and Morris P.C., as Debtor’s court-approved counsel (the “Debtor’s Attorneys”), in
conformity with 11 U.S.C. § 330 and FRBP Rule 2016(a), and respectfully show this Court as
follows:

       1.       In this case, the Court has previously approved the following interim applications for
fees and expenses of the Debtor’s Attorneys (the “Approved Interim Fee Applications”):

   Approval Date           Period               Fees             Expenses          Total Due

    02/07/2019       10/01/18 – 12/31/18      $4,586.00         $ 248.75           $4,834.75
    06/06/2019       01/01/19 – 04/31/19      $6,198.00         $   93.00          $6,291.00

    Total                                    $10,784.00         $ 341.75          $11,125.75

           2.   On November 8, 2018, this Court granted the Debtor’s Motion to Fix Procedure for
Periodic Interim Allowance of Compensation and Reimbursement of Expenses for Chapter 12
Attorneys, establishing a Monthly Fee Notice procedure. Following is a list of the Notices of
Monthly Compensation and Reimbursement of Expenses for Chapter 12 Debtor's Attorneys in this
case which have not come before this Court for approval on an interim basis:

   Notice Date             Period               Fees             Expenses          Total Due

   06/01/2019             May 2019              $306.00           $220.50            $526.50
   06/28/2019             June 2019           $2,020.00           $122.65          $2,142.65

   Total                                      $2,326.00           $343.15          $2,669.15




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       3.        To date, no party has objected to Monthly Fee Notices or to the Debtor’s Attorneys’
approved Interim Fee Applications.

       4.        The Debtor and the Debtor’s Attorneys request that this Court approve final
compensation to the Debtor’s Attorneys in the amount of $13,110.00 and reimbursement of expenses
in the amount of $684.90 for services rendered to the Debtor’s estate between October 2, 2018 and
June 28, 2019.

       WHEREFORE, the Debtor and the Debtor’s Attorneys respectfully request that the Court
enter an Order: approving final compensation to the Debtor’s Attorneys in this matter in the amount
of $13,110.00 and reimbursement of expenses in this matter totaling $684.90; and granting such
further relief as this Court deems just and proper.

       Respectfully submitted this the 28th day of June, 2019.

                                             /s/ Tazewell T. Shepard
                                             Tazewell T. Shepard III
                                             Tazewell T. Shepard IV
                                             Attorneys for the Debtor

                                             SPARKMAN, SHEPARD & MORRIS, P.C.
                                             P. O. Box 19045
                                             Huntsville, AL 35804
                                             Tel: 256/512-9924
                                             Fax: 256/512-9837



                                   CERTIFICATE OF SERVICE

       This is to certify that this the 28th day of June, 2019, I have this day served the foregoing
motion on all parties requesting notice, all parties listed on the Clerk’s Certified Matrix and Richard
Blythe, Office of the Bankruptcy Administrator, by electronic service through the Court’s CM/ECF
system and/or by placing a copy of same in the United States Mail, postage pre-paid.

                                             /s/ Tazewell T. Shepard
                                             Tazewell T. Shepard




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